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      NANCY SCHROEDER (SBN 280207)
 1    (nancy.schroeder@wilmerhale.com)
 2    WILMER CUTLER PICKERING
         HALE AND DORR LLP
 3    350 S. Grand Ave., Suite 2100
 4    Los Angeles, CA 90071
      Telephone: +213 443 5300
 5    Facsimile: +213 443 5400
 6
      LOUIS W. TOMPROS (pro hac vice)           WILLIAM C. KINDER (pro hac vice)
 7    (louis.tompros@wilmerhale.com)            (will.kinder@wilmerhale.com)
 8    STEPHANIE LIN (pro hac vice)              WILMER CUTLER PICKERING
      (stephanie.lin@wilmerhale.com)               HALE AND DORR LLP
 9    WILMER CUTLER PICKERING                   7 World Trade Center
10        HALE AND DORR LLP                     New York, NY 10007
      60 State Street                           Telephone: +1 212 230 8800
11    Boston, MA 02109                          Facsimile: +1 212 230 8888
12    Telephone: +1 617 526 6000
      Facsimile: +1 617 526 5000
13
     Attorneys for Plaintiff Matt Furie
14
15                   IN THE UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
16
17    MATT FURIE,                              2:18-cv-01830-MWF-JPR

18                 Plaintiff,                  MATT FURIE’S STATEMENT OF
19                                             GENUINE DISPUTES OF
            vs.                                MATERIAL FACT IN SUPPORT
20                                             OF PLAINTIFF’S OPPOSITION
21    INFOWARS, LLC; FREE SPEECH               TO DEFENDANTS’ MOTION FOR
      SYSTEMS, LLC,                            SUMMARY JUDGMENT
22
23                 Defendants.                 Date: May 6, 2019
                                               Time: 10:00 a.m.
24                                             Hon. Michael W. Fitzgerald
25                                             Case Filed: March 5, 2018
                                               Trial Date: July 16, 2019
26
27
                                           1
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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 1         Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56-2, Plaintiff

 2   Matt Furie submits the following Statement of Genuine Disputes of Material Fact in

 3   support of its opposition to Defendants’ Motion for Summary Judgment.

 4
                       PLAINTIFF MATT FURIE’S
 5         STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
 6
 7            DEFENDANTS’ PURPORTED                              PLAINTIFF’S
              UNCONTROVERTED FACT                                 RESPONSE
 8
      1.     On November 18, 2003, Matt Furie              Disputed. The
 9    published the comic book Play Time. This comic       characterization of Pepe the
10    features Pepe the Frog, who is one of multiple       Frog as being drawn
      characters in the comic. Pepe the Frog is not        “crudely” is wrong (or, at
11    drawn in color in any panel in the comic. The        best) a matter of judgment.
12    character is drawn crudely and each eye contains     In some panels, Pepe the
      only a single white spot in them.                    Frog contains three white
13                                                         spots in each eye.
14
                                                           Evidence:
15                                                         Infowars Ex. 1 (Dkt. 88-5);
16                                                         Infowars Ex. 1 (Dkt. 88-5)
                                                           at
17                                                         FURIE_INFO_00000046.
18    2.     From April 2006 to July 2007, Matt Furie      Disputed. Pepe the Frog is
      published the comic book Boy’s Club 1. This          shown with two white spots
19
      comic features Pepe the Frog, who is one of          in each eye in some panels,
20    multiple characters in the comic. Only one           and three white spots in
      drawing of Pepe the Frog in his comic is in color,   each eye in other panels.
21
      and it shows the character with green, instead of    Pepe the Frog appears in 21
22    red, lips. Each eye of Pepe the Frog contains only   of the comic’s 44 pages.
      a single white spot in them. Pepe the Frog appears
23
      in 20 of the comic’s 44 pages.                       Evidence:
24                                                         Infowars Ex. 2 (Dkt. 88-6);
                                                           Infowars Ex. 2 (Dkt. 88-6)
25
                                                           at
26                                                         FURIE_INFO_00000131,
27
                                              2
28               PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                              FURIE_INFO_00000132,
 1                                                            FURIE_INFO_00000133.
 2    3.     On June 30, 2008, Mr. Furie published the        Disputed. Pepe the Frog is
      comic book Boy’s Club 2. This comic features            shown with three white
 3    Pepe the Frog, who is one of multiple characters in     spots in each eye in some
 4    the comic. Only two drawings of Pepe the Frog in        panels. Pepe the Frog
      this comic are in color, and they show the character    appears in 26 of the
 5    with green, instead of red, lips. Each eye of Pepe      comic’s 44 pages.
 6    the Frog contains only a single white spot in them.
      Pepe the Frog appears in 25 of the comic’s 44           Evidence:
 7    pages.                                                  Infowars Ex. 3 (Dkt. 88-7);
 8                                                            Infowars Ex. 3 (Dkt. 88-7)
                                                              at
 9
                                                              FURIE_INFO_00000298.
10    4.     On August 30, 2009, Mr. Furie published          Disputed. Pepe the Frog
      the comic book Boy’s Club 3. This comic features        appears in 17 of the
11
      Pepe the Frog, who is one of multiple characters in     comic’s 44 pages.
12    the comic. Pepe the Frog is not drawn in color in
      this comic. Each eye of Pepe the Frog contains          Evidence:
13
      only a single white spot in them. The character         Infowars Ex. 4 (Dkt. 88-8).
14    appears in 16 of the comic’s 44 pages.
      5.     On September 30, 2010, Mr. Furie                 Disputed. Pepe the Frog is
15
      published the comic book Boy’s Club 4. This             shown with one half of a
16    comic features Pepe the Frog, who is one of             dot in each eye in one
17    multiple characters in the comic. Pepe the Frog is      panel, and multiple lines
      drawn in color on one page of the comic and it          through each eye in another
18    shows the character with green, instead of red, lips.   panel.
19    Each eye of Pepe the Frog contains only a single
      white spot in them. Pepe the Frog appears in 25 of      Evidence:
20    the comic’s 44 pages.                                   Infowars Ex. 5 (Dkt. 88-9)
21                                                            at
                                                              FURIE_INFO_00000152,
22                                                            FURIE_INFO_00000154.
23    6.     On June 30, 2016, Mr. Furie published            Disputed. Pepe the Frog is
      Boy’s Club Collective Edition, a compilation of         sometimes shown with
24    the prior volumes of Boy’s Club. This comic             lines, one half, two, or
25    features Pepe the Frog, who is one of multiple          three white spots in each
      characters in the comic. Pepe the Frog is drawn in      eye. Pepe the Frog appears
26    color on two pages of the book and they show the
27
                                                3
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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      character with green, instead of red, lips. Each eye   in 86 of the book’s 180
 1    of Pepe the Frog contains only a single white spot     pages.
 2    in them. Pepe the Frog appears in 83 of the book’s
      180 pages.                                             Evidence:
 3                                                           Infowars Ex. 6 (Dkt. 88-
 4                                                           10); Infowars Ex. 6 (Dkt.
                                                             88-10) at
 5                                                           FURIE_INFO_00000182,
 6                                                           FURIE_INFO_00000186,
                                                             FURIE_INFO_00000188,
 7                                                           FURIE_INFO_00000189,
 8                                                           FURIE_INFO_00000228,
                                                             FURIE_INFO_00000229,
 9                                                           FURIE_INFO_00000230,
10                                                           FURIE_INFO_00000248,
                                                             FURIE_INFO_00000249,
11                                                           FURIE_INFO_00000250.
12    7.     On December 20, 2016, Mr. Furie published       Undisputed.
      a visual work titled Pepe in Blue Shirt. This work
13
      depicted Pepe the Frog.
14    8.     Mr. Furie created Pepe the Frog as a            Undisputed.
      “peaceful frog-dude” who lived alongside animal
15
      roommates and became famous in part because of
16    his catchphrase “feels good man,” and who
      featured prominently in internet memes by, at the
17
      latest, 2014.
18    9.     Pepe the Frog had become an internet            Disputed. Mr. Furie
19    “meme phenomenon” by 2010, and was a meme              testified that the “meme
      prior to this time.                                    phenomenon was kind of
20                                                           peaking for Pepe the Frog”
21                                                           in 2010. He did not testify
                                                             that Pepe became a “meme
22                                                           phenomenon.”
23
                                                             Evidence:
24                                                           Infowars Ex. 9 (Dkt. 88-13)
25                                                           at 48:3-5.
      10. Pepe the Frog began as a comic book                Disputed. Mr. Furie’s
26    character in Mr. Furie’s works, after which point      testimony regarding third
27
                                               4
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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      third parties cut images of Pepe the Frog from          parties’ use of Pepe stated
 1    these comics and “posted them online as a meme.         that those third parties
 2    And then it just kind of went viral after that and it   “posted online as a meme.
      became popular. Specific drawings that [Mr.             And then it just kind of
 3    Furie] made of Pepe became popular internet             went viral after that and it
 4    memes.”                                                 became popular. Specific
                                                              drawings that [Mr. Furie]
 5                                                            made of Pepe became
 6                                                            popular internet memes.”
 7                                                            Evidence:
 8                                                            Infowars Ex. 9 (Dkt. 88-13)
                                                              at 59:25-60:3.
 9
      11. Once Pepe the Frog became a meme, Mr.               Disputed. Mr. Furie’s
10    Furie started to receive examples of unauthorized       testimony was not that
      works featuring the character. Mr. Furie did not        items received from third
11
      “feel any particular happiness or unhappiness           parties bearing Pepe the
12    about it. [He] was just kind of witnessing it as a      Frog were “unauthorized
      phenomenon.”                                            works.”
13
14                                                            Evidence:
                                                              Infowars Ex. 9 (Dkt. 88-13)
15
                                                              at 60:4-11.
16    12. By 2014, famous celebrities such as Katy            Disputed. The statements
      Perry and Nicki Minaj began publishing memes            regarding “users of the
17
      featuring Pepe the Frog. Also starting in 2014,         online message board
18    users of the online message board 4chan began           4chan” and “[t]hird parties
19    posting thousands of unauthorized works featuring       creat[ing] various versions
      Pepe the Frog and calling them “rare Pepes” as if       of Pepe” is hearsay based
20    they were trading cards, and assigning a fictitious     on documents not produced
21    value to them despite the fact that they were all       during fact discovery and
      unauthorized uses of Pepe the Frog. Third parties       should not be considered
22    created various versions of Pepe the Frog, such as      on that basis. It is
23    “Sad Frog,” “Smug Frog,” “Angry Pepe,” “Poo             undisputed that by 2014,
      Poo Pee Pee,” “Nu Pepe,” “Well Meme’d,” and an          famous celebrities such as
24    off-brand version called “Peep the Toad.”               Katy Perry and Nicki Minaj
25                                                            began publishing meme
                                                              featuring Pepe the Frog.
26
27                                                            Evidence:
                                                5
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                           Fed. R. Civ. P. 37(c); Fed.
 1                                                         R. Evid. 801, 802.
 2    13. In 2015, then-Presidential candidate Donald      Disputed. This statement is
      J. Trump retweeted an image of himself as Pepe       hearsay only supported by
 3    the Frog. In January 2016, the Russian embassy in    documents not produced
 4    the UK published a meme of Pepe the Frog in          during fact discovery and
      reaction to news about an upcoming meeting           should not be considered
 5    between British Prime Minister Theresa May and       on that basis.
 6    President Trump. In late 2016, internet users
      posted memes of Pepe the Frog as conservative        Evidence:
 7    French politician Marine Le Pen. In January 2017,    Fed. R. Civ. P. 37(c); Fed.
 8    the fast food chain Wendy’s posted a meme            R. Evid. 801, 802.
      depicting its mascot as Pepe the Frog.
 9
      14. Beginning in 2015, several groups                Undisputed.
10    connected with the politically conservative “alt-
      right” began using images of Pepe the Frog and
11
      including in these depictions “white supremacist
12    language and symbols, Nazi symbols, and other
      offensive imagery.” This included users of the
13
      4chan engaging in a campaign to “reclaim” Pepe
14    by mixing depictions of the character with
      offensive material such as Nazi propaganda
15
      images.       Throughout 2015 and the 2016
16    presidential campaign, there was an increasing
      “number of memes juxtaposing Pepe with racist,
17
      anti-Semitic, and other bigoted imagery and
18    themes . . . .”
19    15. In 2015 and 2016, third parties continued to     Undisputed.
      use Pepe the Frog in images depicting the
20    character as or with then-Presidential candidate
21    Donald J. Trump alongside other conservative
      political figures. Around September 2016, news
22    media began referring to Pepe the Frog as a “white
23    nationalist symbol” and then-candidate Hillary
      Clinton posted an “explainer” stating that “Pepe
24    had been coopted by the alt-right and other white
25    supremacists as a symbol associated with anti-
      Semitism and white supremacy.”
26
27
                                              6
28               PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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      16. On September 10, 2016, President Donald               Disputed. This statement is
 1    Trump’s son, Donald Trump Jr., shared an image            hearsay supported by
 2    on his account on the social media site                   documents not produced
      <instagram.com> displaying Pepe the Frog                  during fact discovery and
 3    alongside Donald Trump and several other                  should not be considered
 4    conservative political figures.                           on that basis.
 5                                                              Evidence:
 6                                                              Fed. R. Civ. P. 37(c); Fed.
                                                                R. Evid. 801, 802.
 7    17. An episode of the television show “Family             Disputed. This statement is
 8    Guy” titled “Pawtucket Pete” that first aired             hearsay only supported by
      December 9, 2018 included a depiction of Pepe the         documents not produced
 9
      Frog and referred to it as “Pepe the Alt-Right            during fact discovery and
10    Frog.”                                                    should not be considered
                                                                on that basis.
11
12                                                              Evidence:
                                                                Fed. R. Civ. P. 37(c); Fed.
13
                                                                R. Evid. 801, 802.
14    18. Mr. Furie stated in an August 2010                    Disputed. Mr. Furie’s
      interview      with      the    online     publication    answer to the interview
15
      KnowYourMeme.com and in response to the                   question is misquoted, as
16    question “How about the people that actually crop         published in the online
      out Pepe’s face and use it, how do you feel about         publication
17
      people remixing your work?”, that “I don’t really         knowyourmeme.com, and
18    mind . . . I was like it doesn’t look the greatest but    should read as follows: “I
19    I don’t care.” In response to the question “Do you        think it just kinda took a
      consider yourself now as sort of a meme creator?          life of its own. I do think
20    Maybe have some influence on the social web,”             it’s kind of an interesting
21    Mr. Furie answered “I think it kind of just took a        phenomenon that out of
      life of its own. I do think it’s kind of an interesting   anything else in the comic
22    phenomenon that out of anything else in the comic         took off. Seems kinda
23    it took off. Seems kind of random. But I am happy         random but I’m happy that
      that it was.” Mr. Furie testified that, as of August      it has.”
24    2010, he was happy about Pepe the Frog becoming
25    a meme.                                                   Evidence:
                                                                Furie Ex. 47 (Dkt. 88-47)
26                                                              at FSS000322.
27
                                                  7
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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      19. Mr. Furie stated in an interview with the             Disputed. Mr. Furie’s
 1    online publication The Daily Dot in April 2015, in        comments made to the
 2    response to a question about third parties profiting      Daily Dot in April 2015
      from unauthorized use of Pepe the Frog, that “I           were in response to the
 3    believe in supporting people’s decisions to profit        question “What about
 4    off of Pepe in order to provide them with the most        people profiting off of
      positive business experience possible. I strive to        Pepe?” In addition, Mr.
 5    be an advocate for Pepe in both love and enterprise       Furie’s answer was
 6    and hope to help business people to have an               sarcastic and a joke.
      empowering and joyful experience while making
 7    an ocean of profits as limitless as the universe.”        Evidence:
 8                                                              Infowars Ex. 14 (Dkt. 88-
                                                                18) at Response to Request
 9                                                              No. 4; Furie Ex. 64 (Dkt.
10                                                              88-64) at FSS000345-352;
                                                                Furie Ex. 74,
11                                                              FURIE_INFO_00000989;
12                                                              Furie Ex. 70 [Furie Dep.
                                                                Tr. at 158:3].
13
      20. Mr. Furie stated in an interview with the             Disputed. First, Mr.
14    publication Vice.com dated July 28, 2015, in              Furie’s answers to the
      response to the question “You don’t feel weird            interview questions are
15
      about [Pepe the Frog] being completely removed            misquoted and should read
16    from its original context in your comics?”, that “I       as follows: “I don’t really
      don’t really see it as being something that’s             see it as being something
17
      negative. It’s this almost post-capitalist kind of        that’s negative. It’s this
18    success. I’m not making any money off of it, but          almost post-capitalist kind
      it’s become its own thing in internet culture . . . I’m   of success. I’m not making
19
      just flattered by it. I don’t really care. I think it’s   any money off of it, but it’s
20    cool. In fact, I’m getting kind of inspired by all the    become its own thing in
      weird interpretations of it. I wanna use it to my         internet culture . . . I’m just
21
      own advantage and try to come up with comics              flattered by it. I don’t
22    based on other people’s interpretations of it.”           really care. I think it’s
23    Later in the interview, Mr. Furie is asked “But           cool. In fact, I’m getting
      your main complaints are just a couple specific           kind of inspired by all the
24    aesthetic things, and not a principled objection to       weird interpretations of it.
25    art being used by people other than the original          I wanna use it to my own
      artist,” to which Mr. Furie responds “No, because         advantage and try to come
26    I do art outside of Boy’s Club, and I reference           up with comics based on
27    Terminator or Ronald McDonald or other pop-               other people’s
                                                  8
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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      cultural stuff that I didn’t come up with,” and that    interpretations of it.”
 1    if he saw third parties selling works incorporating     Second, Mr. Furie was
 2    Pepe the Frog, he would ask for a copy of the item.     asked “But your main
                                                              complaints are just a couple
 3                                                            specific aesthetic things,
 4                                                            and not a principled
                                                              objection to art being used
 5                                                            by people other than the
 6                                                            original artist.” His answer
                                                              was ““No, because I do art
 7                                                            outside of Boy’s Club, and
 8                                                            I reference Terminator or
                                                              Ronald McDonald or other
 9                                                            pop-cultural stuff that I
10                                                            didn’t come up with.”
                                                              Finally, Mr. Furie’s
11                                                            testimony regarding third
12                                                            party use was “If I see
                                                              someone selling something
13
                                                              on Etsy, like a Pepe pin or
14                                                            something, I just ask them
                                                              to send me some.” Mr.
15
                                                              Furie’s comments did not
16                                                            say that he would ask for a
                                                              copy instead of asking
17
                                                              them to stop the use.
18
                                                              Evidence:
19
                                                              Infowars Ex. 14 (Dkt. 88-
20                                                            18) at Responses to
                                                              Request for Admission
21
                                                              Nos. 2 & 12; Furie Ex. 9
22                                                            (Dkt. 85-9) at FSS000332,
                                                              FSS000334.
23
      21. Mr. Furie stated in an interview with New           Undisputed.
24    York Magazine’s online publication Select/All in
25    September 2016 that “I’ve realized that Pepe is
      beyond my control . . . He’s like a kid, he grew up
26    and now I have to set him free to live his life. It’s
27
                                                9
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       all good . . . I just sit back, relax, and let the Pepes
 1     fall where they land[.]”
 2     22. Mr. Furie stated in an interview with the              Disputed. The question
       online publication The Daily Dot in September              asked in the interview was
 3     2016, in response to the question “How do you feel         “How do you feel about
 4     about Pepe’s use in so many pro-Trump memes,               Pepe’s use in so many pro-
       especially the more racist-xenophobic variations           Trump memes, especially
 5     we’ve seen,” that “It’s just a phase, it’s not the first   the more racist/xenophobic
 6     time Pepe has been reclaimed for evil, and no one          variations we’ve seen?”
       will care about it come November. I predict that
 7     his sly, lovable, and charming status will be intact       Evidence:
 8     as early as next week.”                                    Infowars Ex. 19 (Dkt. 88-
                                                                  23).
 9
10     23. Mr. Furie stated in an interview with The              Disputed. First, this
       Atlantic on September 13, 2016, in response to a           mischaracterizes the
11
       question of whether the unauthorized use of Pepe           question Mr. Furie was
12     the Frog bothered him, “It’s never bothered me. In         asked. Mr. Furie was
       fact, it’s been kind of inspiring to me seeing how         responding to a question
13
       mostly kids and teenagers and the kind of                  about whether the
14     youthfulness of Pepe is what I’m attracted to. And         “ubiquity of [Pepe’s] use
       it’s been an inspiration, and something that I’m           and people using him in
15
       proud of.” When asked about the character’s                different contexts”
16     affiliation with the “alt-right,” Mr. Furie stated         bothered him. His
       “My feelings are pretty neutral. This isn’t the first      response was, “It’s never
17
       time that Pepe has been used in a negative weird           bothered me, in fact it’s
18     context. I just think that people reinvent him all         been kind of inspiring to
19     these different ways. It’s kind of blank slate. It’s       me, just seeing how mostly
       just out of my control what people are doing with          kids and teenagers, and
20     it. My thoughts on it are more of amusement.”              kind of youthfulness of
21     When asked whether he had “any regrets about               Pepe is what I’m attracted
       Pepe for not having more control over his image,”          to, and it’s been an
22     Mr. Furie responded “I don’t have any regrets              inspiration and something
23     about anything. I do my own thing. And if,                 that I’m proud of.”
       anything, it’s been kind of interesting to see all the
24     evolutions of Pepe. Yeah, no regrets.”                     Second, the response
25                                                                attributed to Mr. Furie
                                                                  about Pepe the Frog’s
26                                                                affiliation with the “alt-
27                                                                right,” as quoted, is
                                                   10
28                  PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                          actually Defendants’
 1                                                        counsel loosely reading
 2                                                        from Mr. Furie’s quoted
                                                          response in the Atlantic
 3                                                        article. Mr. Furie’s
 4                                                        response, as recited in the
                                                          article, is as follows: “My
 5                                                        feelings are pretty neutral,
 6                                                        this isn’t the first time that
                                                          Pepe has been used in a
 7                                                        negative, weird context. …
 8                                                        I just think that people
                                                          reinvent him in all these
 9                                                        different ways, it’s kind of
10                                                        blank slate. It’s just out of
                                                          my control, what people
11                                                        are doing with it and my
12                                                        thoughts on it, are more of
                                                          amusement.”
13
14                                                        Third, Mr. Furie responded
                                                          to a question about whether
15
                                                          he had “any regrets about
16                                                        Pepe or not having more
                                                          control over his image.”
17
                                                          Mr. Furie’s response was,
18                                                        “I don’t have any regrets
                                                          about anything. I do my
19
                                                          own thing, and if anything,
20                                                        it’s been kind of interesting
                                                          to see all the evolutions of
21
                                                          Pepe. Yeah, no regrets.”
22
                                                          Evidence:
23
                                                          Infowars Ex. 9 (Dkt. 88-13)
24                                                        at 155:8-156:10; Furie Ex.
                                                          75 FSS000339-000344.
25
       24. Mr. Furie testified that Pepe the Frog’s       Undisputed.
26     popularity as an internet meme eventually turned
27     into a financial windfall for him.
                                            11
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       25. Mr. Furie testified that, as far as the general   Disputed. Mr. Furie’s
 1     public was concerned, Pepe the Frog became “a         testimony was did not refer
 2     symbolic identifier for online hate, which is never   to the general public. Mr.
       what he was meant to be,” and also became             Furie testified that “in the
 3     associated with Donald Trump, in the lead-up to       election, Pepe became, at
 4     the 2016 presidential election.                       least in the public's
                                                             perception, a symbolic
 5                                                           identifier for online hate,
 6                                                           which is never what he was
                                                             meant to be.”
 7
 8                                                           Evidence:
                                                             Infowars Ex. 9 (Dkt. 88-13)
 9                                                           at 162:6-8.
10     26. In 2016, as a response to Pepe the Frog’s use     Disputed. The citation to
       as an “alt-right” meme and being associated with      Infowars Ex. 14 at
11
       hate groups, Mr. Furie collaborated with the Anti-    Response No. 6 does not
12     Defamation League on a campaign to “SavePepe”         concern any of the
       and produce positive images of the character.         information in this
13
       When these attempts failed, Mr. Furie “killed”        statement. The statement
14     Pepe the Frog by drawing a comic showing the          mischaracterizes Mr.
       character’s friends attending his funeral.            Furie’s motivations for
15
                                                             “killing” Pepe the Frog.
16                                                           Mr. Furie drew the comic
                                                             strip portraying Pepe the
17
                                                             Frog’s funeral after
18                                                           growing frustrated with the
                                                             attention he was receiving
19
                                                             from Pepe the Frog’s
20                                                           association with hate
                                                             groups.
21
22                                                           Evidence:
23                                                           Infowars Ex. 9 (Dkt. 88-13)
                                                             at 59:17-18; 60:20-61:3.
24     27. In May 2017, political cartoonist Ben             Disputed. Mr. Furie
25     Garrison drew a comic of Pepe the Frog dressed as     testified that he had seen
       “a Monopoly guy or something” walking away            the comic prior to his
26     from Mr. Furie, who is shouting “B-but I killed       deposition, not necessarily
27     you!” and saying “Who the hell are you?” Mr.          before filing of this lawsuit.
                                             12
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       Furie had seen this comic before filing this lawsuit   The information regarding
 1     and does not consider it to infringe his copyright     Mr. Garrison’s explanatory
 2     in any depiction of Pepe the Frog. In his              notes is hearsay only
       explanatory notes of the comic, Mr. Garrison           supported by documents
 3     states that “Pepe is a meme that can’t be eliminated   not produced during fact
 4     with an official declaration or wave of a hand from    discovery and should not
       some ‘authority.’ He’s part of the public domain       be considered on that basis.
 5     of free speech.”
 6                                                            Evidence:
                                                              Infowars Ex. 9 (Dkt. 88-13)
 7                                                            at 57:25-58:4; Fed. R. Civ.
 8                                                            P. 37(c); Fed. R. Evid. 801,
                                                              802.
 9
       28. Mr. Furie testified that the use of Pepe the       Disputed. Mr. Furie
10     Frog as a “hate symbol” around 2016 had affected       testified that a licensee
       his ability to license the character.                  “dropped the Pepe clothing
11
                                                              line after the controversy.
12                                                            Q. What controversy? A.
                                                              The public’s perception of
13
                                                              Pepe the Frog becoming a
14                                                            hate symbol.”
15
                                                              Evidence:
16                                                            Infowars Ex. 9 (Dkt. 88-13)
                                                              at 122:3-7.
17
       29. The earliest cease and desist letter or            Disputed. Mr. Furie issued
18     takedown request Mr. Furie issued regarding            a cease and desist letter in
19     alleged infringement of his copyright in Pepe the      August 2017.
       Frog was sent in August to September 2017. He
20     had not made any attempt to enforce his copyrights     Evidence:
21     prior to this time.                                    Furie Ex. 76
                                                              [FURIE_INFO_00001247];
22                                                            Furie Ex. 65 (Dkt. 85-65)
23                                                            at FSS000143.
       30. On October 19, 2015, Mr. Furie entered into        Disputed. The amount of
24     a licensing agreement with Bored Teenager LLC          royalties that Mr. Furie
25     for the use of Pepe in connection with a clothing      made from this agreement
       line.      Mr. Furie made approximately                is ascertainable from the
26     [REDACTED] in royalties from this agreement.
27
                                               13
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
                                                    Case No. 2:18-cv-01830-MWF-JPR
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                                                               license agreement and sales
 1                                                             records themselves.
 2
                                                               Evidence:
 3                                                             Infowars Ex. 22 (Dkt. 88-
 4                                                             26).
       31. On November 6, 2015, Mr. Furie entered              Disputed. The amount of
 5     into a licensing agreement with Furry Puppet            royalties that Mr. Furie
 6     Studio Inc. for the use of Pepe the Frog as a stuffed   made from this agreement
       animal. Mr. Furie [REDACTED REDACTED                    is ascertainable from the
 7     REDACTED] from this agreement.                          license agreement and sales
 8                                                             records themselves.
 9
                                                               Evidence:
10                                                             Infowars Ex. 23 (Dkt. 88-
                                                               27).
11
12     32. On December 2, 2016, Mr. Furie entered              Undisputed.
       into a licensing agreement with WattzUp Power,
13
       Inc. for the use of Pepe the Frog in connection with
14     a phone charging device. Mr. Furie did not receive
       any revenue from this agreement because the
15
       product was never produced.
16     33. On January 26, 2016, Mr. Furie entered into         Disputed. The statement
17     a licensing agreement with Romance Apocalypse           “[a]n image of Pepe the
       LLC for use of an image of Pepe in the 2017 film        Frog in a comic was used
18     Good Time starring Robert Pattinson. He was paid        in a scene of the film
19     [REDACTED] for this license. An image of Pepe           featuring a flashback of
       the Frog in a comic was used in a scene of the film     people having sex while a
20     featuring a flashback of people having sex while a      drug dealer is sampling a
21     drug dealer is sampling a portion of the drug           portion of the drug ‘acid’
       “acid” taken from a Sprite bottle.                      taken from a Sprite bottle”
22                                                             relies on hearsay only
23                                                             supported by documents
                                                               not produced during fact
24                                                             discovery and should not
25                                                             be considered on that basis.
                                                               The amount of royalties
26                                                             that Mr. Furie made from
27
                                                14
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
                                                    Case No. 2:18-cv-01830-MWF-JPR
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                                                            this agreement is
 1                                                          ascertainable from the
 2                                                          license agreement and sales
                                                            records themselves.
 3
 4                                                          Evidence:
                                                            Fed. R. Civ. P. 37(c); Fed.
 5                                                          R. Evid. 801, 802; Infowars
 6                                                          Ex. 25 (Dkt. 88-29).
       34. On April 25, 2016, Mr. Furie entered into a      Disputed. Mr. Furie did
 7     licensing agreement with Fjerry LLC for the use of   not copy works, nor were
 8     Pepe the Frog illustrations drawn by Mr. Furie in    the works unauthorized.
       a card game. The licensee wanted to use Pepe the     FJerry LLC commissioned
 9
       Frog because it had become an internet meme and      Mr. Furie to draw images
10     commissioned Mr. Furie to copy the unauthorized      of Pepe the Frog that
       works of third parties for use in the game. Mr.      resembled those included
11
       Furie earned [REDACTED] [REDACTED] from              in the licensing agreement,
12     this agreement.                                      which were inspired by Mr.
                                                            Furie’s character Pepe the
13
                                                            Frog. The amount of
14                                                          royalties that Mr. Furie
                                                            made from this agreement
15
                                                            is ascertainable from the
16                                                          license agreement and sales
                                                            records themselves.
17
18                                                          Evidence:
                                                            Infowars Ex. 9 (Dkt. 88-13)
19
                                                            at 40:21-24; 41:9-11;
20                                                          147:19-24; Infowars Ex. 28
                                                            (Dkt. 88-32).
21
       35. On June 7, 2016, Mr. Furie entered into a        Undisputed.
22     licensing agreement with Xi’an Momo IT Ltd. for
23     REDACTED          REDACTED        REDACTED
       REDACTED for the use of Pepe the Frog in
24     connection with “emoji” symbols usable on smart
25     phone applications. The region of operation
       covered by the agreement is China, Hong Kong,
26     Taiwan, and Macau.
27
                                              15
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       36. In February 2018, Mr. Furie entered into a           Disputed. Mr. Furie did
 1     licensing agreement with What Do You Meme,               not copy works, nor were
 2     LLC for use of image of Pepe the Frog in                 the works unauthorized.
       connection with a card game. This agreement              Mr. Furie testified that “I
 3     provided for REDACTED.                The licensee       did my own version of
 4     commissioned Mr. Furie to copy the unauthorized          these images and licensed
       works of third parties for use in the game.              them to use in the game.”
 5
 6                                                              Evidence:
                                                                Infowars Ex. 9 (Dkt. 88-13)
 7                                                              at 56:14-16.
 8     37. On February 26, 2018, Mr. Furie stated in            Undisputed.
       an email to What Do You Meme, LLC that “Pepe
 9
       has taken a strange turn in terms of public
10     perception and I have been rejecting all licensing
       of the frog meme due to the controversy.”
11
       38. Mr. Furie did not enter into any licensing           Disputed. Mr. Furie
12     agreements regarding Pepe the Frog other than the        recently entered into an
       above ones. The earliest licensing agreement he          additional licensing
13
       entered into was in October 2015.                        agreement (after the close
14                                                              of fact discovery).
       39. Pepe the Frog is the only character or work          Undisputed.
15
       Mr. Furie has ever licensed.
16     40. Mr. Furie did not file any applications for          Disputed. There is not just
17     any alleged copyright at issue until, at the earliest,   one “copyright at issue”—
       September 1, 2017.                                       there are seven.
18
19                                                              Evidence:
                                                                Furie Ex. 32 (Dkt. 85-32);
20                                                              Furie Ex. 33 (Dkt. 85-33);
21                                                              Furie Ex. 34 (Dkt. 85-34);
                                                                Furie Ex. 35 (Dkt. 85-35);
22                                                              Furie Ex. 36 (Dkt. 85-36);
23                                                              Furie Ex. 37 (Dkt. 85-37);
                                                                Furie Ex. 38 (Dkt. 85-38).
24     41. Mr. Furie admits that he cannot quantify any         Disputed. Mr. Kinder’s
25     income lost due to sale of the MAGA Poster. He           letter to Mr. Randazza
       has waived any argument regarding actual                 states that “Plaintiff has
26     damages caused by sale of the MAGA Poster.               suffered actual harm in the
27
                                                 16
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                      form of lost expected
 1                                                    licensing revenue.”
 2                                                    (emphasis added) Mr.
                                                      Kinder’s letter further
 3                                                    explains that “Plaintiff
 4                                                    intends to pursue the
                                                      alternative remedy of
 5                                                    disgorgement of
 6                                                    Defendants’ profits and/or
                                                      statutory damages.” Mr.
 7                                                    Furie did not waive, nor
 8                                                    has he waived, actual
                                                      damages. Mr. Furie also
 9                                                    has license agreements
10                                                    showing a market for
                                                      derivative works of Pepe
11                                                    the Frog and has sold
12                                                    posters featuring his work.
                                                      Pepe’s association with
13
                                                      widely despised figures
14                                                    harms the market for
                                                      derivative works featuring
15
                                                      Pepe.
16
                                                      Evidence:
17
                                                      Infowars Ex. 35 (Dkt. 88-
18                                                    39); Furie Ex. 31 (Dkt. 85-
                                                      31); Furie Ex. 89 [Furie
19
                                                      Dep. Ex. 13]; Furie Ex. 90
20                                                    [Furie Dep. Ex. 33]; Furie
                                                      Ex. 93.
21
       42. Mr. Allen created the MAGA Poster in       Disputed. Mr. Allen
22     January 2017.                                  created the first version of
23                                                    a MAGA Poster in January
                                                      2017.
24
25                                                    Evidence:
                                                      Infowars Ex. 36 (Dkt. 88-
26                                                    40) at 20:1-9; Furie Ex. 5
27                                                    (Dkt. 88-5) at 23:11-13.
                                          17
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       43. The MAGA Poster is a collage of several          Undisputed as to each of
 1     politically significant figures during the 2016      the MAGA Posters.
 2     presidential election season, including President
       Trump, Ann Coulter, Kellyanne Conway, and
 3     Roger Stone.
 4     44. Jon Allen used an image of Pepe the Frog as      Undisputed as to each of
       his reference point when creating the MAGA           the MAGA Posters.
 5     Poster. He found this image through a Google
 6     image search. The image he used was not drawn
       by Mr. Furie.
 7
       45. When he created the MAGA Poster, Mr.             Undisputed as to the first
 8     Allen was aware of Pepe the Frog as a meme but       version of a MAGA Poster.
       was not aware of Mr. Furie’s existence.
 9
       46. Mr. Allen made changes in the shading,           Disputed. Mr. Allen
10     shape of the mouth, pupils, and texture of the       testified that “I tried to give
       image of Pepe the Frog he used in the MAGA           him more naturalistic
11
       Poster to “make it look more naturalistic” and fit   qualities, to fit in with the
12     in better with the rest of the figures around the    style of the other
       character.                                           characters. I gave him an
13
                                                            iris around the eye. I tried
14                                                          to make it look more
                                                            naturalistic, as though he’s
15
                                                            sort of sitting in – he’s
16                                                          existing in the space with
17                                                          them.” When asked about
                                                            the naturalistic qualities,
18                                                          Mr. Allen answered, “[t]he
19                                                          shading, the texture. If you
                                                            were to zoom in on the
20                                                          original file, you’d see all
21                                                          these tiny little details, so
                                                            things like that.” Mr. Allen
22                                                          testified to differences
23                                                          between Pepe the Frog in
                                                            the MAGA Posters and
24                                                          Pepe in a Blue Shirt as
25                                                          being “shape of the mouth,
                                                            the pupils, texture.”
26
27
                                              18
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
                                                   Case No. 2:18-cv-01830-MWF-JPR
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                                                                Evidence:
 1                                                              Infowars Ex. 36 (Dkt. 88-
 2                                                              40) at 129:6-18, 152:12-20.
       47. The image of Pepe the Frog Mr. Allen used            Disputed. Mr. Allen
 3     as a reference for the MAGA Poster did not have          testified to making the
 4     many realistic elements and was very flat. He            elements of Pepe the Frog
       made stylistic changes to the image so that it           more realistic, not to give
 5     would have “volume and dimension,” and he                Pepe the Frog “realistic
 6     added detail work to “give it a more naturalistic        elements” as characterized
       feel.”    He needed to make these changes                by the statement. Mr.
 7     “[b]ecause [he] needed it to look like [his] own tile    Allen testified that he
 8     of the poster, the illustration.” The character in the   attempted to make Pepe
       MAGA Poster also looks happy and has a smirk,            look more realistic “mainly
 9
       whereas the image Mr. Allen used as a reference          in the value. If we were to
10     looks sad.                                               look at the actual real file
                                                                and zoom in, there’s – my
11
                                                                work, all my work is very
12                                                              detailed. So it’s all about
                                                                the detail work, the
13
                                                                subtleties of the line work.
14                                                              The original source, it’s a
                                                                very flat style with a very
15
                                                                consistent, almost
16                                                              mechanical line. I create
                                                                my own brushes in the
17
                                                                program as well, so all my
18                                                              line work has a taper to it,
                                                                to give it a more
19
                                                                naturalistic feel. So
20                                                              everything from the
                                                                brushes that I make to the
21
                                                                use of different multiple
22                                                              values to create dimension
23                                                              – I really tried to make it
                                                                stylistically fit in with the
24                                                              poster. I wanted to
25                                                              differentiate it but have it
                                                                be recognizable.” When
26                                                              asked why he changed
27                                                              some elements of Pepe, Mr.
                                                 19
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
                                                    Case No. 2:18-cv-01830-MWF-JPR
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                                                                Allen testified “[b]ecause I
 1                                                              needed it to look like my
 2                                                              own tile of the poster, of
                                                                the illustration.”
 3
 4                                                              Evidence:
                                                                Infowars Ex. 36 (Dkt. 88-
 5                                                              40) at 167:1-20, 178:9-12.
 6     48. Mr. Allen wrote a statement shortly after            Disputed. Mr. Allen’s
       this litigation was filed explaining his authorial       statement was to explain
 7     intent in creating the MAGA Poster.                      his “views and inspiration
 8                                                              for” creating the first
                                                                version of the MAGA
 9
                                                                Posters.
10
                                                                Evidence:
11
                                                                Infowars Composite Ex. 38
12                                                              (Dkt. 88-42) at Allen Dep.
                                                                Ex. 10.
13
       49. Mr. Allen included Pepe the Frog in the              Disputed. Although this
14     MAGA Poster collage “because it was a meme that          language is Mr. Allen’s
       was a part of the 2016 presidential discussion. It       testimony, it is a post facto
15
       was in the dialogue,” since Mr. Allen observed           justification in response to
16     Donald J. Trump Jr. posting a meme of his father         this litigation, and does not
       as Pepe the Frog and “basically people were using        evidence his actual intent at
17
       the meme to debate, argue online, and sort of Pepe       the time of making the first
18     was being – he was being appropriated by one side        version of the MAGA
19     – by the Trump camp to show support of him,              Posters.
       support of . . . Trump’s run. So I thought that was
20     really interesting.” Mr. Allen observed that Pepe        Evidence:
21     the Frog’s use as a meme “had this very immature         Infowars Ex. 36 (Dkt. 88-
       quality to it, and I was . . . assuming that there was   40) at 109:13-110:7,
22     like a demographic of young people that were             110:22-111:6.
23     supporting Trump just because of the meme,
       because it was the sort of like this weird, sarcastic
24     inflection method that was being used with online
25     media.”

26
27
                                                 20
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       50. When he created the MAGA Poster, Mr.                 Disputed. First, Mr.
 1     Allen was not aware of Pepe the Frog’s association       Allen’s testimony stated
 2     with extremist hate groups such as neo-Nazis.            that he was “not aware of
                                                                Pepe the Frog’s association
 3                                                              with Richard Spencer”
 4                                                              when he used Pepe the
                                                                Frog in the first version of
 5                                                              the MAGA Posters.
 6                                                              Second, Mr. Allen testified
                                                                that during the 2016
 7                                                              Presidential election cycle
 8                                                              “[t]here were people who
                                                                thought it was a hate
 9                                                              symbol.”
10
                                                                Evidence:
11                                                              Infowars Statement of
12                                                              Uncontroverted Facts (Dkt.
                                                                88-3) at ¶ 55; Infowars Ex.
13
                                                                36 (Dkt. 88-40) at 114:18-
14                                                              21.
       51. Mr. Allen understood Pepe the Frog to be a           Undisputed.
15
       “meme zeitgeist” because “[i]t’s so recognizable.
16     It’s – this thing that has taken on a life of its own
       Like a lot of people know about it. It’s just known.
17
       People – when it’s something that people known
18     and recognize that taps into this zeitgeist, it’s like
       this – it’s this vein in the culture. It’s like a big
19
       vein in the culture that everyone is somehow aware
20     of.
21     52. Mr. Allen included Pepe the Frog in the              Disputed. This
       MAGA Poster because he “felt that the image              mischaracterizes the
22     needed some type of humor, it needed some type           context of Mr. Allen’s
23     of parody, it needed something that was ridiculous.      quote about the image of
       It needed something that represented the culture on      Pepe the Frog. Mr. Allen
24     the Internet in regards to the 2016 election.” He        said his use of Pepe the
25     felt Pepe the Frog’s inclusion was humorous “it’s        Frog was “intended as
       just this juxtaposition with all these real characters   satirical political
26     and how, you know, it was sort of – he had this          commentary” and in
27     conversation in the 2016 election – like the fact        response to the question
                                                  21
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       that it was a meme that had – that was in the             “what is satirical political
 1     conversation . . . Pepe was a part of, like, this weird   commentary,” Mr. Allen
 2     conversation in the 2016 election. This election          responded that the image
       was ridiculous. And the fact that somehow this            “needed some type of
 3     cartoon frog is like a part of it, I was like, ‘This is   humor, it needed some type
 4     so strange. This is weird. Like, I have to put this       of parody, it needed
       in here.”’                                                something that was
 5                                                               ridiculous. It needed
 6                                                               something that represented
                                                                 the culture on the Internet
 7                                                               in regards to the 2016
 8                                                               election.” In addition,
                                                                 though this is Mr. Allen’s
 9                                                               testimony, it is a post facto
10                                                               justification in response to
                                                                 this litigation, and does not
11                                                               evidence his actual intent at
12                                                               the time of making the first
                                                                 version of the MAGA
13
                                                                 Posters.
14
                                                                 Evidence:
15
                                                                 Infowars Ex. 36 (Dkt. 88-
16                                                               40) at 120:22-121:10.
       53. Mr. Allen included Pepe the Frog in the               Disputed. Although this
17
       MAGA Poster because he “wanted to show that               language is Mr. Allen’s
18     the memes had an influence on the election. This          testimony, it is a post facto
       is funny. People are losing their minds over a            justification in response to
19
       cartoon frog. That’s why I gave him a little smirk.       this litigation, and does not
20     It’s looking back at us. In . . . my reference point,     evidence his actual intent at
       he’s frowning, he’s sad. Here he’s looking back           the time of making the first
21
       and he’s like, ‘Yeah, I had a part in this.’” Mr.         version of the MAGA
22     Allen thought the entire discussion of people             Posters.
23     “losing their minds” over Pepe the Frog as a hate
       symbol was ridiculous.                                    Evidence:
24                                                               Infowars Ex. 36 (Dkt. 88-
25                                                               40) at 168:6-23.
       54. Mr. Allen used the MAGA Poster generally              Disputed. Mr. Allen
26     to discuss alternative media figures in the 2016          testified that “I’m making a
27     Presidential election and also as a parody of Pepe        satirical parody of the
                                               22
28                  PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
                                                     Case No. 2:18-cv-01830-MWF-JPR
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       the Frog as a meme during that time. Pepe the            meme. The meme is one
 1     Frog is used to symbolize the sharing of memes           aspect of many …”
 2     during the election.                                     (emphasis added). Mr.
                                                                Allen further testified that
 3                                                              “the frog, Pepe, represents
 4                                                              the phenomenon of
                                                                memes.” Finally, Mr.
 5                                                              Allen testified, in response
 6                                                              to the question “What is
                                                                Pepe the Frog’s self-
 7                                                              interest?” that “He
 8                                                              represents the Internet.” In
                                                                addition, though this is Mr.
 9                                                              Allen’s testimony, it is a
10                                                              post facto justification in
                                                                response to this litigation,
11                                                              and does not evidence his
12                                                              actual intent at the time of
                                                                making the first version of
13
                                                                the MAGA Posters.
14
                                                                Evidence:
15
                                                                Infowars Ex. 36 (Dkt. 88-
16                                                              40) at 123:15-16, 123:20-
                                                                21, 128:22-23; Furie Ex. 73
17
                                                                [Allen Dep. Tr. at 122:15-
18                                                              16]
       55. Mr. Allen was aware that, during the 2016            Disputed. Mr. Allen’s
19
       Presidential election season, “there were people         testimony was that “there
20     who though [Pepe the Frog] was hilarious. There          were people who thought
       were people who thought it was a hate symbol.            [Pepe the Frog] was
21
       There were people that were using it for all these       hilarious. There were
22     different forms of communications. What I found          people who thought it was
23     really interesting about it was how many different       a hate symbol. There were
       types of associations it could have, and the fact that   people that were using it
24     – you know, the fact that Donald J. Trump like           for all these different forms
25     retweeted it, it was so bizarre, and the reaction that   of communication. What I
       was really like, ‘Whoah.’”                               found really interesting
26                                                              about it was how many
27                                                              different types of
                                                 23
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                             associations it could have,
 1                                                           and the fact that – you
 2                                                           know, the fact that Donald
                                                             J. Trump like retweeted it,
 3                                                           it was so bizarre, and the
 4                                                           reaction that was really
                                                             like, ‘Whoa.’”
 5
 6                                                           Evidence:
                                                             Infowars Ex. 36 (Dkt. 88-
 7                                                           40) at 170:1-14.
 8     56. Mr. Allen does not believe the MAGA               Disputed. In response to
       Poster would have carried the same message in         whether using a different
 9
       relation to the sharing of Internet memes if he had   meme, not a different
10     used a character other than Pepe the Frog.            character, would change
                                                             the message of the first
11
                                                             version of the MAGA
12                                                           Posters, Mr. Allen
                                                             responded “I don’t think
13
                                                             [the MAGA Posters] would
14                                                           have had the same
                                                             message.” His comments
15
                                                             do not indicate what that
16                                                           message would be.
17
                                                             Evidence:
18                                                           Infowars Ex. 36 (Dkt. 88-
                                                             40) at 147:2-6.
19
       57. Prior to the character’s use in the 2016          Undisputed.
20     Presidential election, Mr. Allen had not seen Pepe
21     used for political purposes or associated with
       political figures.
22     58. Mr. Allen was not aware of any cartoon            Undisputed.
23     figures other than Pepe the Frog who played a
       significant role in the 2016 Presidential election.
24     59. In 2014 or 2015, Alex Jones read a Daily          Disputed. The statement
25     Dot article where Mr. Furie said ‘“This is free to    quoted, as if attributed to
       use, everybody free to air. Pepe belongs to           Mr. Furie, is actually Mr.
26     everybody.”’ He also read other statements from       Jones recounting what he
27
                                               24
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       Mr. Furie stating that the public was free to use    claimed to remember Mr.
 1     Pepe the Frog, and was under the impression Mr.      Furie saying in news
 2     Furie had given the general public free license to   interviews. Also, Mr.
       use Pepe the Frog due to these statements and his    Jones’s demeanor and other
 3     lack of enforcement efforts.                         testimony, coupled with the
 4                                                          satirical content in the
                                                            article he describes, creates
 5                                                          a strong inference that Mr.
 6                                                          Jones was testifying falsely
                                                            when he stated that he read
 7                                                          this article and others like
 8                                                          it.
 9                                                          Evidence:
10                                                          Furie Ex. 64 (Dkt. 85-64)
                                                            at FSS000348; Furie Ex. 52
11                                                          (Dkt. 85-52) at 2:5-20;
12                                                          Furie Ex. 71 [Alex Jones
                                                            Dep. Tr. at 14:10-14;
13
                                                            19:13-25; 22:3-6].
14     60. Defendants did not have any role in the          Disputed. Alex Jones
       design of the MAGA Poster.                           signed a version of the
15
                                                            MAGA Posters for sale on
16                                                          the infowars.com store.
                                                            Alex Jones also approved
17
                                                            the design of the MAGA
18                                                          Posters before they went on
                                                            sale.
19
20                                                          Evidence:
                                                            Furie Ex. 57 (Dkt. 85-57)
21
                                                            at 30:19–24; Furie Ex. 77
22                                                          [Alex Jones Dep. Ex. 24 at
23                                                          6:10-17].
       61. Defendant Infowars is an intellectual            Disputed. Infowars and
24     property holding company that does not have any      Free Speech Systems are
25     employees and does not produce any content or        operationally and legally
       own or operate any web sites. It is a legally        linked, as evidenced by the
26     distinct entity from Defendant FSS.                  Terms of Service for
27                                                          infowars.com and
                                              25
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                           prisonplanet.com.
 1                                                         Infowars also has
 2                                                         employees, evidenced by
                                                           email addresses and
 3                                                         operational responsibilities
 4                                                         for such employees.
 5                                                         Evidence:
 6                                                         Furie Ex. 61 (Dkt. 85-61)
                                                           at 8; Furie Ex. 78
 7                                                         [FURIE_INFO_00000367-
 8                                                         FURIE_INFO_00000387];
                                                           Furie Ex. 79 [FSS004768];
 9                                                         Furie Ex. 80 [David Jones
10                                                         Dep. Ex. 15]; Furie Ex. 81
                                                           [Allen_Furie_0000114];
11                                                         Ex. 91 at 1, 3, 6.
12     62. The fact that the terms of service on the web   Disputed. Infowars and
       sites <prisonplanet.com> and <infowars.com>,        Free Speech Systems are
13
       which are operated by FSS, refer to Infowars, LLC   operationally and legal
14     is an error because Infowars “does not act and do   linked, as evidenced by the
       any business, have any checking accounts, have      Terms of Service for
15
       any letterheads, do any business, report any        infowars.com and
16     income, or do anything.”                            prisonplanet.com.
                                                           Additionally, even after
17
                                                           having notice of this
18                                                         supposed error, in the form
                                                           of this lawsuit, the Terms
19
                                                           of Service were not
20                                                         changed for a substantial
                                                           amount of time.
21
22                                                         Evidence:
23                                                         Furie Ex. 61 (Dkt. 85-61)
                                                           at 8; Furie Ex. 78
24                                                         [FURIE_INFO_00000367-
25                                                         FURIE_INFO_00000387];
                                                           Furie Ex. 79 [FSS004768];
26                                                         Furie Ex. 80 [David Jones
27                                                         Dep. Ex. 15]; Furie Ex. 81
                                             26
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                            [Allen_Furie_0000114];
 1                                                          Ex. 91 at 1, 3, 6.
 2
       63. FSS offered the MAGA Poster for sale             Disputed. Infowars and
 3     starting April 23, 2017 and sold its first copy on   Free Speech Systems
 4     this day. It was available for sale on the           offered the first version of
       <infowarsstore.com> and <infowarsshop.com>           the MAGA Posters for sale
 5     web sites.                                           starting April 23, 2017, as
 6                                                          evidenced by their
                                                            operational and legal
 7                                                          connection. On March 6,
 8                                                          2017, Infowars released
                                                            what it called a “New
 9
                                                            Limited Edition” MAGA
10                                                          Poster. Prior to selling
                                                            MAGA Posters, Infowars
11
                                                            employees stated “we look
12                                                          forward to working with
                                                            you in offering your poster
13
                                                            to our listeners and
14                                                          supporters.”
15
                                                            Evidence:
16                                                          Furie Ex. 78
                                                            [FURIE_INFO_00000367-
17
                                                            00000387]; Furie Ex. 79 at
18                                                          FSS004768; Furie Ex. 81
                                                            [Allen_Furie_0000114];
19
                                                            Furie Ex. 80 [David Jones
20                                                          Dep. Ex. 15]; Ex. 72 [David
                                                            Jones Dep. at 120:11-15];
21
                                                            Ex. 86
22                                                          [FURIE_INFO_00000085-
23                                                          00000086].
       64. FSS is the operating company in charge of        Disputed. Infowars, LLC
24     running Alex Jones’s business which started on the   appeared during the period
25     web site <infowars.com>.                             of initial infringement as
                                                            operating the website
26                                                          infowars.com.
27
                                              27
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                         Evidence:
 1                                                       Furie Ex. 79 at FSS004768.
 2     65. Defendants did not create the MAGA Poster     Disputed. Defendants were
       and did not ask Mr. Allen to create the poster.   involved in signing
 3                                                       versions of the MAGA
 4                                                       Poster that were offered for
                                                         sale at an increased price.
 5
 6                                                       Evidence:
                                                         Furie Ex. 77 [Alex Jones
 7                                                       Dep. Ex. 24 at 6:10-17];
 8                                                       Furie Ex. 71 [Alex Jones
                                                         Dep. at 68:22-69:13].
 9
       66. FSS purchased copies of the MAGA Poster       Disputed. Infowars
10     from Jon Allen.                                   purchased copies of
                                                         MAGA Posters through its
11
                                                         employees.
12
                                                         Evidence:
13
                                                         Furie Ex. 81
14                                                       [Allen_Furie_0000114];
                                                         Furie Ex. 82
15
                                                         [Allen_Furie_0000027];
16                                                       Furie Ex. 83
                                                         [Allen_Furie_0000031];
17
                                                         Furie Ex. 84
18                                                       [Allen_Furie_0000036];
19                                                       Furie Ex. 85 at FSS004752.
       67. All purchase orders were made by FSS,         Undisputed, to the extent
20     rather than Infowars, and all payment checks to   that “Infowars” refers to
21     Mr. Allen for copies of the MAGA Poster were      Infowars, LLC.
       made out by FSS, not Infowars.
22     68. Gross revenues of FSS attributable to the     Disputed. Defendants
23     sale of the MAGA Poster amounted to $31,407.44,   admitted that the gross
       and FSS netted $13,671.44.                        revenue by “Defendants,”
24                                                       which included both Free
25                                                       Speech Systems and
                                                         Infowars, amounted to
26                                                       $31,407.44. Additionally,
27
                                            28
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                              Defendants applied an
 1                                                            improper methodology in
 2                                                            calculating net revenue.
 3                                                            Evidence:
 4                                                            Infowars Ex. 41 (Dkt. 88-
                                                              45) at Response No. 3;
 5                                                            Furie Ex. 87 [FSS004840-
 6                                                            004869]; Furie Ex. 88
                                                              [FSS004870-004871].
 7     69. The character “El Sapo Pepe” is an                 Disputed. Although this
 8     Argentinian anthropomorphic frog that has existed      language is Mr. Allen’s
       since at least 1988, and shows featuring the           testimony, it is a post facto
 9
       character started to be broadcast in Argentina and     justification in response to
10     other Central American countries since at least this   this litigation, and does not
       time. El Sapo Pepe shares many physical                evidence his actual intent at
11
       characteristics with Pepe the Frog.                    the time of making the first
12                                                            version of the MAGA
                                                              Posters.
13
       70. Mr. Furie traveled to Tijuana and San              Disputed. The depiction of
14     Felipe, Mexico in the summer of 2004. Mr.              Pepe the Frog did not
       Furie’s depiction of Pepe the Frog changed             “change drastically” nor
15
       drastically from Play Time, which pre-dated this       did Pepe the Frog begin “to
16     visit, to his depiction in Boy’s Club, which post-     look significantly more like
       dated this visit, and began to look significantly      El Sapo.”
17
       more like El Sapo Pepe.
18                                                            Evidence:
19                                                            Furie Ex. 68 (Dkt. 85-68)
                                                              at 757; Infowars Ex. 1
20                                                            (Dkt. 88-4); Infowars Ex. 2
21                                                            (Dkt. 88-5).
       71. Mr. Furie has several pieces of art published      Disputed. Portions of the
22     on his web site depicting characters that are          cited materials to support
23     strikingly similar, if not directly copied from,       this fact are missing from
       popular pre-existing characters such as The            the exhibits. Mr. Furie’s
24     Terminator, The Incredible Hulk, Alf, and Freddy       pieces depict characters that
25     Krueger. Mr. Furie stated during his deposition        are similar to, in that they
       that he did not copy any of these characters           have drawn inspiration
26     directly, and that he only drew “inspiration” from
27
                                               29
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       them or that any similarities are merely       from, popular pre-existing
 1     coincidental.                                  characters.
 2
                                                      Evidence:
 3
                                                      Furie Ex. 70 [Furie Dep. Tr.
 4                                                    at 73:24-74:21, 75:15-77:2,
 5                                                    82:19-24, 87:22-88:10,
 6                                                    100:6-10, 114:2-6].

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28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                       PLAINTIFF MATT FURIE’S
 1     RESPONSES TO INFOWARS’S PURPORTED CONCLUSIONS OF LAW
 2
 3             DEFENDANTS’ PURPORTED                                 PLAINTIFF’S
                 CONCLUSION OF LAW                                    RESPONSE
 4
       1.     “The Court shall grant summary judgment if       Fed. R. Civ. P. 56(a).
 5     the movant shows that there is no genuine dispute
       as to any material fact and the movant is entitled to
 6
       judgment as a matter of law.”
 7     2.     Fed. R. Civ. P. 56 “mandates the entry of        Disputed to the extent this
       summary judgment . . . against a party who fails to     represents an incomplete
 8
       make a showing sufficient to establish the              and/or inaccurate
 9     existence of an element essential to that party’s       description of the
       case, and on which that party will bear the burden      controlling law
10
       of proof at trial.” The movant has the initial          surrounding Federal Rule
11     burden of demonstrating the absence of any              of Civil Procedure 56. Mr.
12     dispute as to a material fact, with all inferences      Furie has responded to
       being made in favor of the nonmovant. See id. at        Defendants’ cited case law
13     323. Once the movant meets its burden, the burden       in his opposition, and
14     then shifts to the nonmovant to present specific        presented his own
       facts showing that a genuine issue for trial exists.    authorities in support of
15     To demonstrate a genuine issue, the nonmovant           denying Defendants’
16     must come forth with sufficient evidence for which      motion, which accurately
       a jury could reasonably find for that party, and a      reflect the state of
17     mere “scintilla of evidence” is insufficient.           controlling law.
18     3.     “The fair use doctrine [under copyright law]     Disputed to the extent this
       thus ‘permits [and requires] courts to avoid rigid      represents an incomplete
19     application of the copyright statute when, on           and/or inaccurate
20     occasion, it would stifle the very creativity which     description of the
       that law is designed to foster.’” Accordingly, “the     controlling law
21     analysis is a flexible one[,]” to be “perform[ed] on    surrounding fair use. Mr.
22     a case-by-case basis” and “in light of the copyright    Furie has responded to
       law’s purpose ‘to promote the progress of science       Defendants’ cited case law
23     and art by protecting artistic and scientific works     in his opposition, and
24     while encouraging the development and evolution         presented his own
       of new works.’”                                         authorities in support of
25                                                             denying Defendants’
26                                                             motion, which accurately

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                                                31
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                               reflect the state of
 1                                                             controlling law.
 2     4.     The first fair use factor determines “whether    Disputed to the extent this
       the new work merely ‘supersede[s] the objects’ of       represents an incomplete
 3     the original creation . . . or instead adds something   and/or inaccurate
 4     new, with a further purpose of different character,     description of the
       altering the first with new expression, meaning, or     controlling law
 5     message,” i.e., whether the use is “transformative.”    surrounding fair use. Mr.
 6     Other factors in the fair use analysis weigh less the   Furie has responded to
       more transformative a use is.                           Defendants’ cited case law
 7                                                             in his opposition, and
 8                                                             presented his own
                                                               authorities in support of
 9
                                                               denying Defendants’
10                                                             motion, which accurately
                                                               reflect the state of
11
                                                               controlling law.
12     5.     “[A]n allegedly infringing work is typically     Disputed to the extent this
       viewed as transformative as long as new                 represents an incomplete
13
       expressive content or message is apparent.” “This       and/or inaccurate
14     is so even where . . . the allegedly infringing work    description of the
       makes few physical changes to the original or fails     controlling law
15
       to comment on the original.”               Placing a    surrounding fair use. Mr.
16     copyrighted work in a new context can make a use        Furie has responded to
       of that work transformative.                            Defendants’ cited case law
17
                                                               in his opposition, and
18                                                             presented his own
19                                                             authorities in support of
                                                               denying Defendants’
20                                                             motion, which accurately
21                                                             reflect the state of
                                                               controlling law.
22     6.    The use of a copyrighted work in a collage        Disputed to the extent this
23     can be highly transformative.                           represents an incomplete
                                                               and/or inaccurate
24                                                             description of the
25                                                             controlling law
                                                               surrounding fair use. Mr.
26                                                             Furie has responded to
27
                                                32
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                              Defendants’ cited case law
 1                                                            in his opposition, and
 2                                                            presented his own
                                                              authorities in support of
 3                                                            denying Defendants’
 4                                                            motion, which accurately
                                                              reflect the state of
 5                                                            controlling law.
 6     7.     In addition to the transformative nature of a   Disputed to the extent this
       work, whether a use is commercial also bears on        represents an incomplete
 7     the first factor analysis, though this consideration   and/or inaccurate
 8     weighs less heavily the more transformative a use      description of the
       is.                                                    controlling law
 9
                                                              surrounding fair use. Mr.
10                                                            Furie has responded to
                                                              Defendants’ cited case law
11
                                                              in his opposition, and
12                                                            presented his own
                                                              authorities in support of
13
                                                              denying Defendants’
14                                                            motion, which accurately
                                                              reflect the state of
15
                                                              controlling law.
16     8.    The second fair use factor considers whether     Disputed to the extent this
       the copyrighted work allegedly infringed is factual    represents an incomplete
17
       or expressive in nature, though this “factor           and/or inaccurate
18     typically has not been terribly significant in the     description of the
19     overall fair use balancing.”                           controlling law
                                                              surrounding fair use. Mr.
20                                                            Furie has responded to
21                                                            Defendants’ cited case law
                                                              in his opposition, and
22                                                            presented his own
23                                                            authorities in support of
                                                              denying Defendants’
24                                                            motion, which accurately
25                                                            reflect the state of
                                                              controlling law.
26
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                                               33
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       9.     The second fair use factor also considers        Disputed to the extent this
 1     “the extent to which a work has been published,”        represents an incomplete
 2     as “[p]ublished works are more likely to qualify as     and/or inaccurate
       fair use because the first appearance of the artist’s   description of the
 3     expression has already occurred.”                       controlling law
 4                                                             surrounding fair use. Mr.
                                                               Furie has responded to
 5                                                             Defendants’ cited case law
 6                                                             in his opposition, and
                                                               presented his own
 7                                                             authorities in support of
 8                                                             denying Defendants’
                                                               motion, which accurately
 9                                                             reflect the state of
10                                                             controlling law.
       10. “The third [fair use] factor looks to the           Disputed to the extent this
11
       quantitative amount and qualitative value of the        represents an incomplete
12     original work used in relation to the justification     and/or inaccurate
       for that use.” This is because “the extent of           description of the
13
       permissible copying varies with the purpose and         controlling law
14     character of the use.”                                  surrounding fair use. Mr.
                                                               Furie has responded to
15
                                                               Defendants’ cited case law
16                                                             in his opposition, and
                                                               presented his own
17
                                                               authorities in support of
18                                                             denying Defendants’
                                                               motion, which accurately
19
                                                               reflect the state of
20                                                             controlling law.
21     11. Wholesale copying of a work does not                Disputed to the extent this
       preclude a finding of fair use and the use of an        represents an incomplete
22     entire copyrighted image may be reasonable if it        and/or inaccurate
23     serves the defendant’s intended purpose.                description of the
                                                               controlling law
24                                                             surrounding fair use. Mr.
25                                                             Furie has responded to
                                                               Defendants’ cited case law
26                                                             in his opposition, and
27                                                             presented his own
                                                34
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                                authorities in support of
 1                                                              denying Defendants’
 2                                                              motion, which accurately
                                                                reflect the state of
 3                                                              controlling law.
 4     12. In the third fair use factor analysis, it is also    Disputed to the extent this
       important to look at only the protectible elements       represents an incomplete
 5     of the original work, rather than the entire work        and/or inaccurate
 6     itself, in this analysis.                                description of the
                                                                controlling law
 7                                                              surrounding fair use. Mr.
 8                                                              Furie has responded to
                                                                Defendants’ cited case law
 9
                                                                in his opposition, and
10                                                              presented his own
                                                                authorities in support of
11
                                                                denying Defendants’
12                                                              motion, which accurately
                                                                reflect the state of
13
                                                                controlling law.
14     13. Elements of a work “that are standard, stock,        Disputed to the extent this
       or common to a particular subject matter or              represents an incomplete
15
       medium are not protectable . . . .” And a composite      and/or inaccurate
16     of artistic choices along with common elements           description of the
       found in nature is entitled only to “thin” protection.   controlling law
17
                                                                surrounding fair use. Mr.
18                                                              Furie has responded to
19                                                              Defendants’ cited case law
                                                                in his opposition, and
20                                                              presented his own
21                                                              authorities in support of
                                                                denying Defendants’
22                                                              motion, which accurately
23                                                              reflect the state of
                                                                controlling law.
24     14. The fourth fair use factor considers “not            Disputed to the extent this
25     only the extent of market harm caused by the             represents an incomplete
       particular actions of the alleged infringer, but also    and/or inaccurate
26     ‘whether unrestricted and widespread conduct of          description of the
27
                                                 35
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       the sort engaged in by the defendant . . . would     controlling law
 1     result in a substantially adverse impact on the      surrounding fair use. Mr.
 2     potential market’ for the original.”                 Furie has responded to
                                                            Defendants’ cited case law
 3                                                          in his opposition, and
 4                                                          presented his own
                                                            authorities in support of
 5                                                          denying Defendants’
 6                                                          motion, which accurately
                                                            reflect the state of
 7                                                          controlling law.
 8     15. “Where the allegedly infringing use does         Disputed to the extent this
       not substitute for the original and serves a         represents an incomplete
 9
       ‘different market function,’ [the fourth fair use]   and/or inaccurate
10     factor weighs in favor of fair use.”                 description of the
                                                            controlling law
11
                                                            surrounding fair use. Mr.
12                                                          Furie has responded to
                                                            Defendants’ cited case law
13
                                                            in his opposition, and
14                                                          presented his own
                                                            authorities in support of
15
                                                            denying Defendants’
16                                                          motion, which accurately
                                                            reflect the state of
17
                                                            controlling law.
18     16. Transformative works are less likely to have     Disputed to the extent this
19     an adverse impact on the original work than a use    represents an incomplete
       which merely supersedes the original.                and/or inaccurate
20                                                          description of the
21                                                          controlling law
                                                            surrounding fair use. Mr.
22                                                          Furie has responded to
23                                                          Defendants’ cited case law
                                                            in his opposition, and
24                                                          presented his own
25                                                          authorities in support of
                                                            denying Defendants’
26                                                          motion, which accurately
27
                                              36
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                              reflect the state of
 1                                                            controlling law.
 2     17. Harm to the plaintiff’s market cannot be           Disputed to the extent this
       presumed where the use in question is                  represents an incomplete
 3     transformative and market substitution is unlikely;    and/or inaccurate
 4     in such cases, the plaintiff must introduce            description of the
       “[e]vidence of substantial harm to it” and must        controlling law
 5     make this showing “by a preponderance of the           surrounding fair use. Mr.
 6     evidence.”                                             Furie has responded to
                                                              Defendants’ cited case law
 7                                                            in his opposition, and
 8                                                            presented his own
                                                              authorities in support of
 9
                                                              denying Defendants’
10                                                            motion, which accurately
                                                              reflect the state of
11
                                                              controlling law.
12     18. The fourth fair use factor does not favor a        Disputed to the extent this
       plaintiff who can only show “hypothetical” market      represents an incomplete
13
       harm.                                                  and/or inaccurate
14                                                            description of the
                                                              controlling law
15
                                                              surrounding fair use. Mr.
16                                                            Furie has responded to
                                                              Defendants’ cited case law
17
                                                              in his opposition, and
18                                                            presented his own
19                                                            authorities in support of
                                                              denying Defendants’
20                                                            motion, which accurately
21                                                            reflect the state of
                                                              controlling law.
22     19. Copyright        abandonment        “must    be    Undisputed.
23     manifested by some overt act indicative of a
       purpose to surrender the rights and allow the public
24     to copy.”
25     20. It is possible for a copyright holder to           Disputed to the extent this
       abandon some, but not all, rights in a work.           represents an incomplete
26                                                            and/or inaccurate
27
                                               37
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                       description of the
 1                                                     controlling law
 2                                                     surrounding abandonment.
                                                       Mr. Furie has responded to
 3                                                     Defendants’ cited case law
 4                                                     in his opposition, and
                                                       presented his own
 5                                                     authorities in support of
 6                                                     denying Defendants’
                                                       motion, which accurately
 7                                                     reflect the state of
 8                                                     controlling law.
       21. Public statements in news articles can be   Disputed to the extent this
 9
       evidence sufficient to amount to abandonment.   represents an incomplete
10                                                     and/or inaccurate
                                                       description of the
11
                                                       controlling law
12                                                     surrounding abandonment.
                                                       Mr. Furie has responded to
13
                                                       Defendants’ cited case law
14                                                     in his opposition, and
                                                       presented his own
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                                                       authorities in support of
16                                                     denying Defendants’
                                                       motion, which accurately
17
                                                       reflect the state of
18                                                     controlling law.
19     22. “[A] nonexclusive license may be granted    Disputed to the extent this
       orally, or even be implied from conduct.”       represents an incomplete
20                                                     and/or inaccurate
21                                                     description of the
                                                       controlling law
22                                                     surrounding nonexclusive
23                                                     license. Mr. Furie has
                                                       responded to Defendants’
24                                                     cited case law in his
25                                                     opposition, and presented
                                                       his own authorities in
26                                                     support of denying
27                                                     Defendants’ motion, which
                                          38
28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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                                                             accurately reflect the state
 1                                                           of controlling law.
 2     23. An implied license can be found where the         Disputed to the extent this
       copyright holder engages in conduct “from which       represents an incomplete
 3     [the] other [party] may properly infer that the       and/or inaccurate
 4     owner consents to his use.”                           description of the
                                                             controlling law
 5                                                           surrounding implied
 6                                                           license. Mr. Furie has
                                                             responded to Defendants’
 7                                                           cited case law in his
 8                                                           opposition, and presented
                                                             his own authorities in
 9
                                                             support of denying
10                                                           Defendants’ motion, which
                                                             accurately reflect the state
11
                                                             of controlling law.
12     24. To receive statutory damages, a copyright         Disputed to the extent this
       plaintiff must either have applied for registration   represents an incomplete
13
       prior to the commencement of infringement or          and/or inaccurate
14     must have applied for registration within three       description of the
       months after the first publication of his work.       controlling law
15
                                                             surrounding statutory
16                                                           damages. Mr. Furie has
                                                             responded to Defendants’
17
                                                             cited case law in his
18                                                           opposition, and presented
19                                                           his own authorities in
                                                             support of denying
20                                                           Defendants’ motion, which
21                                                           accurately reflect the state
                                                             of controlling law.
22     25. “[T]he first act of infringement in a series of   Undisputed.
23     ongoing infringements of the same kind marks the
       commencement of one continuing infringement
24     under § 412,” for purposes of both statutory
25     damages and attorneys’ fees.
       26. While post-registration infringements can         Undisputed.
26     be considered new “commencements” of
27
                                               39
28                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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       infringing activity, they must be sufficiently
 1     different from the initial act of infringement.
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28                PLAINTIFF’S STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT
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 1     Dated: April 15, 2019                Respectfully submitted,
                                            By: /s/ Louis W. Tompros
 2
                                            Wilmer Cutler Pickering Hale and
 3                                          Dorr LLP
 4                                          Nancy Schroeder (SBN 280207)
                                            350 S. Grand Ave. Suite 2100
 5                                          Los Angeles, CA 90071
 6                                          Tel.: (213) 443-5300
                                            Fax: (213) 443-5400
 7                                          nancy.schroeder@wilmerhale.com
 8
                                            Louis W. Tompros (pro hac vice)
 9                                          Stephanie Lin (pro hac vice)
                                            60 State Street
10
                                            Boston, MA 02109
11                                          Tel.: (617) 526-6000
                                            Fax: (617) 526-5000
12
                                            louis.tompros@wilmerhale.com
13                                          stephanie.lin@wilmerhale.com
14                                          William C. Kinder (pro hac vice)
15                                          7 World Trade Center
                                            250 Greenwich Street
16                                          New York, New York 10007
17                                          Tel.: (212) 295-6509
                                            Fax: (212) 230-8888
18                                          will.kinder@wilmerhale.com
19
                                            Attorneys for Plaintiff
20
                                            MATT FURIE
21
22
23
24
25
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